Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18      PageID.181    Page 1 of 9



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                      CRIMINAL NO. 17-cr-20126

v.                                          HON. ARTHUR J. TARNOW

MIGUEL ANGEL MARTINEZ,

            Defendant.



               Government’s Response and Brief in Support
             Opposing Defendant’s Motion to Dismiss Count Two
                                 (Doc. 34)


      For the reasons stated in the government’s brief, this Court should deny the

defendant’s motion.


                                            MATTHEW SCHNEIDER,
                                            United States Attorney

                                            s/ Margaret M. Smith
                                            MARGARET M. SMITH
                                            Assistant United States Attorney
                                            211 W. Fort Street, Suite 2001
                                            Detroit, MI 48226
                                            Phone: (313) 226-9135
                                            E-Mail: margaret.smith@usdoj.gov
                                            Bar No. P71413
Dated: June 22, 2018
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18      PageID.182    Page 2 of 9



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                       CRIMINAL NO. 17-cr-20126

v.                                           HON. ARTHUR J. TARNOW

MIGUEL ANGEL MARTINEZ,

            Defendant.

_


            Government’s Brief in Support Opposing Defendant’s
                     Motion to Dismiss Count Two
                                 (Doc. 34)



      Defendant Miguel Martinez currently faces federal charges for distributing,

receiving, and possessing child pornography. (Doc. 14). He now seeks an order

from this Court to “order the Government to elect between counts two and three of

the indictment and dismiss the count the Government does not intend to prove at

trial.” Alternatively, Defendant seeks a bill of particulars. Because the indictment

does not contain the error that Defendant believes, his motion should be denied.




                                         1
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18        PageID.183    Page 3 of 9




      I.     Facts and Procedural History

      The defendant’s charges in this case stem from evidence discovered during an

undercover investigation and execution of a federal search warrant at the defendant’s

house. As the indictment alleges, from approximately early September 2016,

through the date of the search warrant in February 2017, the defendant was offering

up child pornography files to trade with others by using a peer-to-peer file sharing

system. After the defendant distributed several child pornography videos to the

undercover agent, a search warrant was obtained and executed. A forensic review of

the defendant’s computer media revealed evidence of the online activities, as well

as additional child pornography videos.

      II.    Counts properly alleged in the indictment.

      Defendant’s argument that the double jeopardy clause prohibits the United

States from moving forward with this indictment simply misapprehends the law.

      As the indictment currently stands, Count Two of the indictment charges

Martinez with knowingly receiving child pornography “on or about and between

September 5, 2016, through on or about February 21, 2017 . . . .” (R. 14: Indictment).

Count three charges knowingly possessing images of child pornography “on or about

February 21, 2017 . . . .” (Id.). Neither the separate media items nor the specific

images are further identified in the charging document. But it is not error for the

indictment to allege the counts in this manner.


                                          2
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18            PageID.184     Page 4 of 9



       The Double Jeopardy Clause of the Fifth Amendment to the Constitution

provides that no one will “be subject for the same offense to be twice put in jeopardy

of life or limb.” U.S. Const. Amend V. It is meant to protect principles of finality

and prevent prosecutorial overreach. Ohio v. Johnson, 467 U.S. 493, 501-02 (1984).

The Fifth Amendment’s prohibition on double jeopardy protects against being

punished twice for a single criminal offense. Brown v. Ohio, 432 U.S. 161, 165

(1977). “Congress, of course, has the power to authorize multiple punishments

arising out of a single act or transaction. The constitutional guarantee against double

jeopardy merely assures that the court does not ‘exceed its legislative authorization

by imposing multiple punishments for the same offense.” United States v. Overton,

573 F.3d 679, 690 (9th Cir. 2009).

       There is no double jeopardy violation at this stage in the proceeding. Jeopardy

attaches in a criminal proceeding when the court accepts a plea agreement, when the

jury is sworn or, in a bench trial, when the court begins to hear evidence. Serfass v.

United States, 420 U.S. 377, 388 (1975) (citations omitted). It does not end until a

verdict or a trial judge’s final judgment of acquittal. United States v. Byrne, 203

F.3d 671, 673 (9th Cir. 2000). The Supreme Court “has consistently adhered to the

view that jeopardy does not attach, and the constitutional prohibition can have no

application, until a defendant is ‘put to trial before the trier of facts, whether the trier




                                             3
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18       PageID.185    Page 5 of 9



be a jury or a judge.’” Serfass, 420 U.S. at 388, (quoting United States v. Jorn, 400

U.S. 470, 479 (1971)).

      The United States is well within constitutional boundaries to include both the

offenses of receipt and possession of child pornography in the indictment, and can

permissibly prosecute the Defendant for both offenses through trial, see Ball v.

United States, 470 U.S. 856, 865 (1985), United States v. Davenport, 519 F.3d at

944, 948.    However, the Double Jeopardy Clause would prohibit entry of

convictions on both counts. United States v. Ehle, 640 F.3d 689 (6th Cir. 2011); See

also United States v. Jose, 425 F.3d 1237, 1247 (9th Cir. 2005) (“Thus, when a jury

convicts on both the greater and the lesser included offenses, absent a clear

indication by Congress that it intended to allow punishment for both offenses, the

district court should enter a final judgment of conviction on the greater offense and

vacate the conviction on the lesser offense.” (citing Rutledge v. United States, 517

U.S. 292, 306 (1996))).

      But this issue is easily resolved before entry of judgment. In prior cases,

undersigned counsel utilized a special verdict form that listed count three

(possession count) as a lesser included offense of count two (receipt count), and the

Court instructed the jury that count three should be considered as a lesser-included.

See, e.g., United States v. Johnson, 15-cr-20577, ED of MI. This remedy assumes




                                         4
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18           PageID.186    Page 6 of 9



that the United States does not intend to present a superseding indictment to the

grand jury prior to trial.1

       III.   No bill of particulars necessary.

       Alternatively, the defendant has moved for a bill of particulars pursuant to

Federal Rule of Criminal Procedure 7(f), which provides in relevant part that “the

court may direct the government to file a bill of particulars.”

       Defendant’s motion for a bill of particulars should be denied. A defendant is

not entitled to a bill of particulars as a matter of right. See Wong Tai v. United States,

273 U.S. 77, 82 (1927). A request for a bill of particulars is properly rejected when

the indictment adequately details the charges. United States v. Mahar, 801 F. 2d

1477, 1503 (6th Cir. 1976). “An indictment is sufficient if it, first, contains the

elements of the offense charged and fairly informs the defendant of the charge

against which he must defend, and second, enables him to plead an acquittal or

conviction in bar of future prosecutions for the same offense.” United States v.

Bailey, 444 U.S. 394, 414 (1980); Hamling v. United States, 418 U.S. 87, 117 (1974);

see also Russell v. United States, 369 U.S. 749, 763–64 (1962); United States v.

Salisbury, 983 F.2d 1369, 1373 (6th Cir.1993); United States v. Piccolo, 723 F.2d

1234, 1238 (6th Cir.1983) (en banc). “Stated differently, an indictment which


1
  For example, if a superseding indictment were returned, and the counts alleged
specific images/videos, or specific devices, this issue will be moot. United States
v. Ogden, 685 F.3d 600 (6th Cir. 2012).
                                            5
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18         PageID.187    Page 7 of 9



describes the offense in terms of the words of the criminal statute, together with the

approximate place and time of the offense, is generally sufficient.” United States v.

United Memorial Hospital, 2002 WL 33001119 (W.D. Mich. 2002); United States

v. Middleton, 246 F.3d 825, 841 (6th Cir.2001); United States v. Hanna, 198

F.Supp.2d 236, 243 (E.D.N.Y.2002) (citing United States v. Pirro, 212 F.3d 86, 92

(2nd Cir.2000)); see also United States v. Fruehauf Corp., 577 F.2d 1038, 1071 (6th

Cir.1998) (holding in conspiracy case that charges were sufficient where they

identified the object of the conspiracy and referred to the specific statutory sections

involved).

      “It is well established that if the government has provided the information

called for in some other satisfactory form, then no bill of particulars is required.”

United States v. Vasquez, 867 F. 2d 872, 874 (5th Cir. 1989).

      To date, the government has provided Defendant hundreds of pages of

discovery. The government has also produced CDs containing additional evidence

(audio recordings, photographs, and a search warrant return). The government has

made the child pornographic evidence available for defense counsel to review.

During these evidence reviews, the attorney for the government has personally

explained to Defendant’s attorneys precisely what evidence supports each count in

the indictment. From the inception of this case, the government has been




                                          6
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18          PageID.188   Page 8 of 9



forthcoming with the defense regarding discovery and review of the evidence. As

the parties begin to prepare for trial, this will continue.

      Defendant suggests that whether the same images “underlie” separate counts

in the indictment may “present duplicity or double jeopardy issues.” Defendant is

incorrect. The government concedes that possession of child pornography is a lesser

included offense for receipt of child pornography, and that convictions for both

counts based on the same evidence cannot stand. However, as discussed above, there

is no reason that a defendant cannot face charges of both receipt and possession of

child pornography. This issue will be addressed at trial, and a bill of particulars is

not the appropriate remedy.

IV.   Conclusion

      The defendant’s motion should be denied.


                                         Respectfully submitted,

                                         MATTHEW SCHNEIDER,
                                         United States Attorney

                                         s/Margaret M. Smith
                                         Assistant United States Attorney
                                         211 W. Fort Street, Suite 2001
                                         Detroit, MI 48226
                                         Phone: (313) 226-9135
                                         E-Mail: margaret.smith@usdoj.gov
                                         Bar No. P71413

Dated: June 22, 2018


                                            7
Case 2:17-cr-20126-AJT-APP ECF No. 37 filed 06/22/18        PageID.189    Page 9 of 9




                                Certificate of Service

      I certify that on Friday, June 22, 2018, I electronically filed the Response for

the United States with the Clerk of the Court for the Eastern District of Michigan

using the ECF system, which will send notification of such filing to the following

attorney for the defendant:

                                 Joshua A. Blanchard
                              Attorney for the Defendant
                                 josh@blanchard.law


                                       s/Margaret M. Smith
                                       Assistant United States Attorney
                                       United States Attorney’s Office




                                          8
